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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

FELECIA D. DAVIS,                             §
                                              §
                             Plaintiff,       §
                                              § Civil Action No. 3:15-CV-3382-D
VS.                                           §
                                              §
EDUARDO VARGAS-REYES, et al.,                 §
                                              §
                             Defendants.      §

                                MEMORANDUM OPINION
                                    AND ORDER

        Plaintiff Felecia D. Davis (“Davis”) moves to remand this removed case based on lack

of complete diversity. For the reasons that follow, the court denies the motion.1

        Davis filed suit in Texas state court to recover against defendant Eduardo Vargas-

Reyes (“Vargas”) for personal injuries arising from a motor vehicle collision. After Davis

settled with Vargas, she filed a first amended petition in which she added as defendants her

insurer, Amica Mutual Insurance Company (“Amica”), seeking underinsured motorist

coverage, and Carolina J. Glenn (“Glenn”), whom she alleged was the Amica adjuster2 who

had declined to make an offer on Davis’ underinsured motorist claim. Shortly thereafter, she


        1
         Under § 205(a)(5) of the E-Government Act of 2002 and the definition of “written
opinion” adopted by the Judicial Conference of the United States, this is a “written opinion[]
issued by the court” because it “sets forth a reasoned explanation for [the] court’s decision.”
It has been written, however, primarily for the parties, to decide issues presented in this case,
and not for publication in an official reporter, and should be understood accordingly.
        2
        Davis refers to Glenn in her state-court pleadings as Amica’s “agent.” The notice of
removal and motion to remand both refer to Glenn as an adjuster, and Davis does not appear
to dispute Amica’s assertion that Glenn is an Amica employee-adjuster.
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filed a second amended petition in which she named all three as defendants, asserting again

that her claims against Vargas had been settled. Amica removed the case to this court within

30 days of being served with the second amended petition.3 It alleged in its notice of removal

that the Texas citizenship of Vargas should be disregarded because Davis admitted that she

had settled her claims against him. Amica asserted that Glenn’s Texas citizenship should be

disregarded because she had been improperly joined as a defendant. Because Amica is a

citizen of Rhode Island, it contended in its notice of removal that removal was proper based

on diversity of citizenship between Davis and Amica.

       Davis moves to remand. She contends that even though she settled with Vargas,

diversity of citizenship is determined as of the time she originally filed suit in Texas,

meaning that Vargas’ Texas citizenship precludes removal. Davis also maintains that, even

if the court concludes that jurisdictional defects can be cured by dismissing a nondiverse

party, the state court has never entered an order dismissing her claims against Vargas, so his

Texas citizenship cannot be disregarded. Davis does not move to remand based on Glenn’s

Texas citizenship. Amica has not responded to Davis’ motion.4

       Davis incorrectly relies on the premise that diversity of citizenship is only determined

as of the time she filed suit in Texas state court. “[T]he propriety of removal is usually

determined by examining the case at the time of removal[.]” Burnett v. Petroleum Geo-


       3
        It is undisputed that the one-year limitation on removal does not apply.
       4
       Davis filed her motion on November 19, 2015. Amica’s response was due no later
than December 10, 2015. See N.D. Tex. Civ. R. 7.1(e).

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Servs., Inc., 2013 WL 1723011, at *1 (N.D. Tex. Apr. 22, 2013) (Fitzwater, C.J.). “[A] case

may be removed based on any voluntary act of the plaintiff that effectively eliminates the

nondiverse defendant from the case.” Estate of Martineau v. ARCO Chem. Co., 203 F.3d

904, 911 (5th Cir. 2000) (quoting Vasquez v. Alto Bonito Gravel Plant Corp., 56 F.3d 689,

693 (5th Cir. 1995)). A binding and enforceable settlement agreement, for example, can

remove a nondiverse defendant and make the balance of the case removable. See Estate of

Martineau, 203 F.3d at 910.

       Here, as in her state-court first amended petition, Davis alleged in her second amended

petition (her live pleading) that her claims against Vargas had been settled. Under Texas law,

this is a binding judicial admission because it is a clear, deliberate, and unequivocal

statement in a live pleading.      See, e.g., Regency Advantage Ltd. P’ship v. Bingo

Idea-Watauga, Inc., 936 S.W.2d 275, 278 (Tex. 1996). Accordingly, Davis admitted that she

had undertaken a voluntary act that eliminated Vargas—a nondiverse defendant—from the

case. And because in her motion to remand Davis does not address (much less challenge)

Amica’s assertion that Glenn’s citizenship should be disregarded based on improper joinder,

Davis has not demonstrated on this basis that the properly-joined parties were not completely

diverse at the time this case was removed.




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  Accordingly, Davis’ November 19, 2015 motion to remand is denied.

  SO ORDERED.

  December 17, 2015.



                                  _________________________________
                                  SIDNEY A. FITZWATER
                                  UNITED STATES DISTRICT JUDGE




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